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                                           April 6, 2020
VIA ECF
The Honorable Robert B. Kugler
United States District Court for the District of New Jersey
402 E State Street
Trenton, NJ 08608

Re: Gittens v. Scholtz
    Docket No. 1:18-cv-02519-RBK-KMW

Dear Judge Kugler:


       I represent the Plaintiff in this case. I am writing to request more time for service in this

case. Pursuant to the Certificate of Clerk (Dkt. No. 29), I served the U.S. Marshal’s Service with

USMS 28 and 37 copies of the summons in mid-February 2020. I called the Marshal’s Service

on March 5, 2020, wherein it weas confirmed that the USMS had the summonses and would

serve them the next day. (See Dkt. No. 32). No confirmation of service has yet appeared on

PACER, and the clerk’s office confirmed today that they have not received anything from the

USMS. Additionally, I called the USMS to find out the status of the summonses and was told

that no one would be able to help me with this until next week. Considering the fact that service
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may be suspended until the end of the coronavirus-related shutdown, I am respectfully requesting

another 60 days to effectuate service.




                              Sincerely,




                              MICHAEL POREDA
